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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    BENEFYTT TECHNOLOGIES, INC., et al.,1                            )   Case No. 23-90566 (CML)
                                                                     )
                                       Debtors.                      )   (Joint Administration Requested)
                                                                     )   Re: Docket No. _____

                       ORDER (I) ESTABLISHING THE CLAIMS
             BAR DATE, (II) RE-ESTABLISHING THE GOVERNMENTAL
            BAR DATE, (III) ESTABLISHING THE REJECTION DAMAGES
       BAR DATE AND THE AMENDED SCHEDULES BAR DATE, (IV) APPROVING
      THE FORM OF AND MANNER FOR FILING PROOFS OF CLAIM, INCLUDING
      SECTION 503(b)(9) REQUESTS, AND (V) APPROVING NOTICE OF BAR DATES
             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Bar Date Order”) (a) establishing the

Claims Bar Date, (b) re-establishing the Governmental Bar Date, (c) establishing the Amended

Schedules Bar Date and the Rejection Damages Bar Date, (d) approving the form and manner for

filing such claims, including any requests for payment under section 503(b)(9) of the Bankruptcy

Code, and (e) approving notice of the Bar Dates (each as defined herein); and upon the First Day

Declarations; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and this



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Benefytt Technologies, Inc. (2634); American Service Insurance Agency LLC (9115); Benefytt
      Reinsurance Solutions, LLC (4601); BimSym-HPIH, LLC (4626); Dawn Acquisition Company, LLC (0909);
      Daylight Beta Intermediate Corp. (7248); Daylight Beta Intermediate II Corp. (8842); Daylight Beta Parent Corp.
      (6788); Health Insurance Innovations Holdings, Inc. (1994); Health Plan Intermediaries Holdings, LLC (0972);
      Healthinsurance.com, LLC (9525); HealthPocket, Inc. (3710); Insurance Center for Excellence, LLC (4618);
      RxHelpline, LLC (9940); Sunrise Health Plans, LLC (3872); TogetherHealth Insurance, LLC (9503);
      TogetherHealth PAP, LLC (8439); and Total Insurance Brokers, LLC (7975). The location of the Debtors’
      service address is: 3450 Buschwood Park Drive, Suite 200, Tampa, Florida 33618.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Court having found that it may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing, if any; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

II.       The Bar Dates and Procedures for Filing Proofs of Claim.

          1.       Each entity3 that asserts a claim against any of the Debtors that arose before the

Petition Date, including requests for payment under section 503(b)(9) of the Bankruptcy Code,

shall be required to file an original, written proof of claim (a “Proof of Claim”), substantially in

the form attached hereto as Exhibit 1 (the “Proof of Claim Form”) or Official Form 410.4 Except

in the cases of governmental units and certain other exceptions explicitly set forth herein, all



3     Except as otherwise defined herein and in the Motion, all terms specifically defined in the Bankruptcy Code shall
      have those meanings ascribed to them by the Bankruptcy Code. In particular, as used herein: (a) the term “claim”
      has the meaning given to it in section 101(5) of the Bankruptcy Code; (b) the term “entity” (including individuals,
      partnerships, corporations, joint ventures, and trusts) has the meaning given to it in section 101(15) of the
      Bankruptcy Code; (c) the term “governmental unit” has the meaning given to it in section 101(27) of the
      Bankruptcy Code; and (d) the term “person” has the meaning given to it in section 101(41) of the Bankruptcy
      Code.

4     Copies of Official Form 410 may be obtained by: (a) calling the Debtors’ restructuring hotline at (833) 693-3762
      (Toll Free U.S.); or (720) 450-8180 (Non-U.S. Parties); (b) visiting the Debtors’ restructuring website at
      https://cases.stretto.com/benefytt; and/or (c) visiting the website maintained by the Court at
      http://www.txs.uscourts.gov/bankruptcy.



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Proofs of Claim must be filed so that they are actually received on or before Monday, July 10,

2023, at 5:00 p.m., prevailing Central Time (the “Claims Bar Date”), at the addresses and in the

form set forth herein. The Claims Bar Date applies to all types of claims against any of the

Debtors that arose or are deemed to have arisen before the Petition Date, except for claims

specifically exempt from complying with the applicable Bar Dates (as defined herein) as set forth

in the Motion or this Bar Date Order.

        2.     Each employee and former employee of the Debtors and their non-Debtor affiliates

that asserts a claim against the Debtors that arose before the Petition Date is authorized to file a

Proof of Claim that redacts personally identifiable information with the Debtors’ Claims and

Noticing Agent; provided that an unredacted Proof of Claim shall be provided upon request by the

Debtors.

        3.     The Debtors are authorized to take reasonable action to prevent employees’ and

former employees’ personally identifiable information from being publicly available on the claims

register.

        4.     All governmental units holding claims (whether secured, unsecured priority, or

unsecured non-priority) that arose (or are deemed to have arisen) prior to the Petition Date,

including requests for payment pursuant to section 503(b)(9) of the Bankruptcy Code, must file

Proofs of Claims, including claims for unpaid taxes, whether such claims arise from prepetition

tax years or periods or prepetition transactions to which any of the Debtors were a party, so they

are actually received on or before Friday, November 20, 2023, at 5:00 p.m., prevailing Central

Time (the “Governmental Bar Date”), at the address and in the form set forth herein.

        5.     Unless otherwise ordered, all entities asserting claims arising from the Debtors’

rejection of executory contracts and unexpired leases shall file a Proof of Claim on account of such




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rejection by the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable, and

(b) 5:00 p.m., prevailing Central Time, on the date that is thirty (30) days following entry of the

order approving the Debtors’ rejection of the applicable executory contract or unexpired lease

(the “Rejection Damages Bar Date”).

       6.      If any of the Debtors amend the Schedules after having given notice of the Bar

Dates (as defined herein), the applicable Debtor shall give notice by first-class mail of any

amendment to holders of claims affected thereby, and, except for entities that are exempt from

complying with the applicable Bar Dates, as set forth in this Bar Date Order, the last date and time

for those holders to file Proofs of Claim, if necessary, shall be the later of (a) the Claims Bar Date

or the Governmental Bar Date, as applicable, and (b) 5:00 p.m., prevailing Central Time, on the

date that is thirty (30) days from the date the notice of the Schedule amendment is mailed

(the “Amended Schedules Bar Date,” and together with the Claims Bar Date, the Governmental

Bar Date, and the Rejection Damages Bar Date, the “Bar Dates”).

       7.      All Proofs of Claim must be filed or submitted so as to be actually received by the

Claims and Noticing Agent on or before the applicable Bar Date. If Proofs of Claim are not

received by the Claims and Noticing Agent on or before the applicable Bar Date, the holders of

the underlying claims shall be barred from asserting such claims against the Debtors and precluded

from voting on any plans of reorganization filed in these chapter 11 cases and/or receiving

distributions from the applicable Debtor on account of such claims in these chapter 11 cases.

       8.      The Bar Dates established by this Bar Date Order supersede any bar dates

established, filed, noticed, or previously served in these chapter 11 cases.

III.   Parties Required to File Proofs of Claim.

       9.      The following categories of claimants, in the capacities described below, shall be

required to file a Proof of Claim by the Bar Date:


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               a.     any entity whose claim against a Debtor is not listed in the applicable
                      Debtor’s Schedules or is listed as contingent, unliquidated, or disputed if
                      such entity desires to participate in any of these chapter 11 cases or share in
                      any distribution in any of these chapter 11 cases;

               b.     any entity who believes that its claim is improperly classified in the
                      Schedules or is listed in an incorrect amount and who desires to have its
                      claim allowed in a different classification or amount other than that
                      identified in the Schedules;

               c.     any former or present full-time, part-time, salaried, or hourly employees
                      whose claims relates to any grievance, including claims for wrongful
                      termination, discrimination, harassment, hostile work environment,
                      retaliation, and/or unpaid severance, to the extent grounds for such
                      grievances arose on or prior to the Petition Date; provided that current
                      employees of the Debtors are not required to file a Proof of Claim for wages,
                      commissions, benefits, or severance if an order of the Court authorized the
                      Debtors to honor such claim in the ordinary course of business;

               d.     any entity that believes that its prepetition claim as listed in the Schedules
                      is not an obligation of the specific Debtor against which the claim is listed
                      and that desires to have its claim allowed against a Debtor other than that
                      identified in the Schedules; and

               e.     any entity who believes that its claim against a Debtor is or may be an
                      administrative expense pursuant to section 503(b)(9) of the Bankruptcy
                      Code.

IV.    Parties Exempted from the Bar Date.

       10.     The following categories of claimants, in the capacities described below, shall not

be required to file a Proof of Claim by the Bar Date:

               a.     the U.S. Trustee, on account of claims for fees payable pursuant to
                      28 U.S.C. § 1930;

               b.     any entity that already has filed a signed Proof of Claim against the
                      applicable Debtor with the Claims and Noticing Agent in a form
                      substantially similar to Official Form 410 with respect to the claim asserted
                      therein;

               c.     any entity whose claim is listed on the Schedules if: (i) the claim is not
                      scheduled by the Debtors as any of “disputed,” “contingent,” or
                      “unliquidated;” (ii) such entity agrees with the amount, nature, and priority
                      of the claim as set forth in the Schedules; and (iii) such entity does not
                      dispute that its claim is an obligation only of the specific Debtor against
                      which the claim is listed in the Schedules;


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      d.    any entity whose claim has previously been allowed by a final order of
            the Court;

      e.    any Debtor having a claim against another Debtor, or any claim by a
            non-Debtor affiliate or subsidiary (whether direct or indirect and whether
            wholly˗owned or not) against any of the Debtors;

      f.    any entity whose claim is solely against any non-Debtor affiliates;

      g.    any entity whose claim has been paid by a Debtor pursuant to a Court order;

      h.    a current employee of the Debtors, if an order of the Court authorized the
            Debtors to honor such claim in the ordinary course of business as a wage,
            commission, or benefit; provided that a current employee must submit a
            Proof of Claim by the Claims Bar Date for all other claims arising before
            the Petition Date, including claims for wrongful termination,
            discrimination, harassment, hostile work environment, and/or retaliation;

      i.    any current or former officer, manager, director, or employee for claims
            based on indemnification, contribution, or reimbursement;

      j.    any entity holding a claim for which a separate deadline is fixed by
            the Court;

      k.    any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
            the Bankruptcy Code as an expense of administration incurred in the
            ordinary course, provided that any entity asserting a claim entitled to
            priority under section 503(b)(9) of the Bankruptcy Code must assert such
            claims by filing a request for payment or a Proof of Claim on or prior to the
            Claims Bar Date;

      l.    any person or entity that is exempt from filing a Proof of Claim pursuant to
            an order of the Court in these Chapter 11 Cases, including, without
            limitation, pursuant to an order authorizing the Debtors’ proposed
            postpetition financing (whether on an interim or final basis) (any such order,
            the “DIP Order”);

      m.    any holder of a claim for any fees, expenses, or other obligations arising or
            payable under the DIP Order; and

      n.    any entity holding an equity interest in any Debtor.




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V.     Substantive Requirements of Proofs of Claim.

       11.    The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

              a.     Contents. Each Proof of Claim must: (i) be written in legible English;
                     (ii) include a claim amount denominated in United States dollars;
                     (iii) conform substantially with the Proof of Claim Form provided by the
                     Debtors or Official Form 410; and (iv) be signed by the claimant or by an
                     authorized agent or legal representative of the claimant on behalf of the
                     claimant, whether such signature is an electronic signature or is ink.

              b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                     priority under section 503(b)(9) of the Bankruptcy Code must also:
                     (i) include the value of the goods delivered to and received by the Debtors
                     in the twenty (20) days prior to the Petition Date; (ii) attach any
                     documentation identifying the particular invoices for which such claim is
                     being asserted; and (iii) attach documentation of any reclamation demand
                     made to the Debtors under section 546(c) of the Bankruptcy Code
                     (if applicable).

              c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                     electronically or in ink by the claimant or an authorized agent or legal
                     representative of the claimant may be deemed acceptable for purposes of
                     claims administration. Copies of Proofs of Claim, or Proofs of Claim sent
                     by facsimile or electronic mail, will not be accepted.

              d.     Identification of the Debtor Entity. Each Proof of Claim must clearly
                     identify the specific Debtor against which a claim is asserted, including the
                     individual Debtor’s case number. A Proof of Claim filed under the joint
                     administration case number (No. 23-90566 (CML)), or otherwise without
                     identifying a specific Debtor, will be deemed as filed only against Benefytt
                     Technologies, Inc.

              e.     Claim Against Multiple Debtor Entities. Each Proof of Claim must state a
                     claim against only one Debtor and clearly indicate the Debtor against which
                     the claim is asserted. To the extent more than one Debtor is listed on the
                     Proof of Claim, such claim may be treated as if filed only against Benefytt
                     Technologies, Inc.

              f.     Supporting Documentation in Order to Have Prima Facie Validity. In
                     order to have prima facie validity, each claim of a type specified in
                     Bankruptcy Rules 3001(c) and 3001(d) must include supporting
                     documentation. If, however, such documentation is voluminous, such Proof
                     of Claim may include a summary of such documentation or an explanation
                     as to why such documentation is not available; provided that (i) the Proof


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                       of Claim contain current contact information for the creditor or its
                       designated representative from whom the Debtors may request the full
                       supporting documentation and (ii) such party must produce the supporting
                       documentation to the Debtors’ counsel upon request no later than ten (10)
                       days from the date of such request.

               g.      Timely Service. Each Proof of Claim must be filed or submitted, including
                       supporting documentation, through any of the following methods:
                       (i) electronic submission through PACER (Public Access to Court
                       Electronic Records at https://ecf.txsb.uscourts.gov/), (ii) electronic
                       submission using the interface available on the Claims and Noticing
                       Agent’s website at https://cases.stretto.com/benefytt, or (iii) if submitted
                       through non-electronic means, by U.S. mail or other hand delivery system,
                       so as to be actually received by the Claims and Noticing Agent on or before
                       the Claims Bar Date, the Governmental Bar Date, or other applicable Bar
                       Date, as applicable, at the following address:

                              If by First-Class Mail Hand Delivery or Overnight Mail:
                                           Benefytt Claims Processing Center
                                                       c/o Stretto
                                               410 Exchange, Suite 100
                                                   Irvine, CA 92602

                             PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR
                               ELECTRONIC MAIL WILL NOT BE ACCEPTED.

               h.      Receipt of Service. Claimants submitting a Proof of Claim through
                       non-electronic means wishing to receive acknowledgment that their Proofs
                       of Claim were received by the Claims and Noticing Agent must submit (i) a
                       copy of the Proof of Claim Form (in addition to the original Proof of Claim
                       Form sent to the Claims and Noticing Agent) and (ii) a self-addressed,
                       stamped envelope.

       12.     Notwithstanding anything to the contrary, the requirements for any Proof of Claim

to be filed by the Loan Parties (as defined in the DIP Order) shall be governed by the terms of the

DIP Order.

VI.    Identification of Known Creditors.

       13.     The Debtors shall mail notice of the Claims Bar Date (or the Governmental Bar

Date, as applicable) only to their known creditors, and such mailing shall be made to the last known

mailing address for each such creditor, as reflected in the Debtors’ books and records at such time.



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VII.   Procedures for Providing Notice of the Bar Date.

       A.      Mailing of Bar Date Notices.

       14.     The Debtors shall cause a written notice of the Bar Date Package to be served via

email, facsimile, or first-class mail within five (5) business days after the date of the entry of this

Order (or as soon as reasonably practicable thereafter), substantially in the form attached hereto as

Exhibit 2 (the “Bar Date Notice”), and a Proof of Claim Form (collectively, the “Bar Date

Package”) to be mailed via first-class mail to the following entities:

               a.      the U.S. Trustee for the Southern District of Texas;

               b.      the entities listed as holding the 30 largest unsecured claims against the
                       Debtors (on a consolidated basis);

               c.      Paul, Weiss, Rifkind, Wharton & Garrison LLP, as counsel to the DIP
                       Lender;

               d.      Akin Gump Strauss Hauer & Feld LLP, as counsel to the Consenting Term
                       Lenders;

               e.      counsel to the Committee;

               f.      the Consenting Revolving Lenders

               g.      all creditors and other known holders of claims against the Debtors as of the
                       date of entry of the Bar Date Order, including all entities listed in the
                       Schedules as holding claims against the Debtors;

               h.      all entities that have requested notice of the proceedings in these chapter 11
                       cases pursuant to Bankruptcy Rule 2002 as of entry of the date of the Bar
                       Date Order;

               i.      all entities that have filed Proofs of Claim in these chapter 11 cases as of
                       the date of entry of the Bar Date Order;

               j.      all known non-Debtor equity and interest holders of the Debtors as of the
                       date of entry of the Bar Date Order;

               k.      all entities who are party to executory contracts and unexpired leases with
                       the Debtors;

               l.      all entities who are party to active litigation with the Debtors;



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               m.      all current and former employees (to the extent that contact information for
                       former employees is available in the Debtors’ records);

               n.      all regulatory authorities that regulate the Debtors’ businesses;

               o.      the Office of the Attorney General for the State of Texas and each of the
                       states in which the Debtors conduct business;

               p.      the District Director of the Internal Revenue Service for the Southern
                       District of Texas;

               q.      all other taxing authorities for the jurisdictions in which the Debtors
                       maintain or conduct business;

               b.      all other entities listed on the Debtors’ matrix of creditors;

               r.      the United States Securities and Exchange Commission; and

               s.      the Office of the United States Attorney for the Southern District of Texas.

       15.     The Debtors shall provide all known creditors listed in the Debtors’ Schedules with

a personalized Proof of Claim Form, which will set forth: (a) the identity of the Debtor against

which the creditor’s claim is scheduled; (b) the amount of the scheduled claim, if any; and

(c) whether the claim is listed as secured, unsecured priority, or unsecured non-priority.

The Debtors’ creditors that are listed in the Debtors’ Schedules as contingent, unliquidated, or

disputed shall receive a non-personalized Proof of Claim Form. Each creditor shall have an

opportunity to inspect the Proof of Claim Form provided by the Debtors and correct any

information that is missing, incorrect, or incomplete. Any creditor may choose to submit a Proof

of Claim on a different form as long as it is substantially similar to Official Form 410.

       B. Supplemental Mailings.

       16.     After the initial mailing of the Bar Date Packages, the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that:

(a) notices are returned by the post office with forwarding addresses; (b) certain parties acting on

behalf of parties in interest decline to pass along notices to these parties and instead return their



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names and addresses to the Debtors for direct mailing, and (c) additional potential claimants

become known as the result of the Bar Date mailing process. In this regard, the Debtors may make

supplemental mailings of the Bar Date Package in these and similar circumstances at any time up

to fourteen days in advance of the applicable Bar Date, with any such mailings being deemed

timely and such Bar Date being applicable to the recipient creditors.

       C.      Publication of Bar Date Notice.

       17.     The Debtors shall cause notice of the Claims Bar Date and the Governmental Bar

Date to be given by publication to creditors to whom notice by mail is impracticable, including

creditors who are unknown or not reasonably ascertainable by the Debtors and creditors whose

identities are known but whose addresses are unknown by the Debtors. Specifically, the Debtors

shall cause the Bar Date Notice to be published as soon as reasonably practicable after entry of the

Bar Date Order, modified for publication in substantially the form attached hereto as Exhibit 3

(the “Publication Notice”), on one occasion in the national editions of USA Today and The New

York Times, and any such other local publications that the Debtors deem appropriate and disclose

in the Claims and Noticing Agent’s affidavit of service.

       18.     Notice of the Bar Dates as set forth in this Bar Date Order and in the manner set

forth herein (including, but not limited to, the Bar Date Notice, the Publication Notice, and any

supplemental notices that the Debtors may send from time to time) constitutes adequate and

sufficient notice of each of the Bar Dates and satisfies the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Bankruptcy Local Rules.

VIII. Consequences of Failure to File a Proof of Claim.

       19.     Any person or entity that is required, but fails, to file a Proof of Claim in accordance

with the Bar Date Order on or before the applicable Bar Date shall be forever barred, estopped,

and enjoined from asserting such claim against the Debtors and their chapter 11 estates (or filing


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a Proof of Claim with respect thereto) and the Debtors and their property and estates shall be

forever discharged from any and all indebtedness or liability with respect to or arising from such

claim. Without limiting the foregoing sentence, any creditor asserting a claim entitled to priority

pursuant to section 503(b)(9) of the Bankruptcy Code that fails to file a Proof of Claim in

accordance with this Bar Date Order shall not be entitled to any priority treatment on account of

such claim pursuant to section 503(b)(9) of the Bankruptcy Code, regardless of whether such claim

is identified on the Schedules as not contingent, not disputed, and liquidated. Such person or entity

shall not be treated as a creditor with respect to such claim for any purpose in these chapter 11

cases.

          20.   Any such entity that is required, but fails, to file a Proof of Claim in accordance

with the Bar Date Order on or before the applicable Bar Date shall be prohibited from voting to

accept or reject any chapter 11 plan filed in these chapter 11 cases, participating in any distribution

in these chapter 11 cases on account of such claim, or receiving further notices regarding such

claim.

IX.       Miscellaneous.

          21.   The Debtors are authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Bar Date Order in accordance with the Motion.

          22.   The terms and conditions of this Bar Date Order shall be immediately effective and

enforceable upon entry of the Bar Date Order.

          23.   Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.




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       24.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Bar Date Order.

 Dated: ___________, 2023

                                                  UNITED STATES BANKRUPTCY JUDGE




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                             Exhibit 1

                        Proof of Claim Form
Fill in this information   to identify the
                  Case 23-90566               case:
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Name of Debtor & Case Number:                                          Health Plan Intermediaries Holdings, LLC (Case No. 23-xxxxx)
 Benefytt Technologies, Inc. (Case No. 23-xxxxx)                      Healthinsurance.com, LLC (Case No. 23-xxxxx)
 American Service Insurance Agency LLC (Case No. 23-xxxxx)            HealthPocket, Inc. (Case No. 23-xxxxx)
 Benefytt Reinsurance Solutions, LLC ( Case No. 23-xxxxx)             Insurance Center for Excellence, LLC (Case No. 23-xxxxx)
 BimSym-HPIH, LLC (Case No. 23-xxxxx)                                 RxHelpline, LLC (Case No. 23-xxxxx)
 Dawn Acquisition Company, LLC (Case No. 23-xxxxx)                    Sunrise Health Plans, LLC (Case No. 23-xxxxx)
 Daylight Beta Intermediate Corp. (Case No. 23-xxxxx)
 Daylight Beta Intermediate II Corp. (Case No. 23-xxxxx)              TogetherHealth Insurance, LLC (Case No. 23-xxxxx)
 Daylight Beta Parent Corp. (Case No. 23-xxxxx)                       TogetherHealth PAP, LLC (Case No. 23-xxxxx)
 Health Insurance Innovations Holdings, Inc. (Case No. 23-xxxxx)      Total Insurance Brokers, LLC (Case No. 23-xxxxx)
United States Bankruptcy Court for the Southern District of Texas


 Official Form 410
 Proof of Claim                                                                                                                                             04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of
 administrative expenses arising under 11 U.S.C. §503(b)(9), do not use this form to make a request for payment of an administrative expense.
 Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


 Part 1:    Identify the Claim

1. Who is the current
   creditor?                   ___________________________________________________________________________________________________________
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                  No
   someone else?                  Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
                               _____________________________________________________                       _____________________________________________________
   Federal Rule of             Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)              ______________________________________________________                      ______________________________________________________
                               Number      Street                                                          Number      Street

                               ______________________________________________________                      ______________________________________________________
                               City                       State             ZIP Code                       City                       State             ZIP Code

                               Contact phone    ________________________                                   Contact phone   ________________________

                               Contact email     ________________________                                  Contact email   ________________________



                               Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                               __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend          No
   one already filed?
                                  Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                            MM / DD       / YYYY



5. Do you know if anyone          No
   else has filed a proof         Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




   Official Form 410                                                     Proof of Claim                                                                           page 1
                     Case 23-90566 Document 22-1 Filed in TXSB on 05/23/23 Page 16 of 32


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                                       page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the                    No
    claim entitled to                        Yes. Indicate the amount of your claim arising from the value of any                               $_____________________
    administrative                            goods received by the Debtor within twenty (20) days before the date of
    priority pursuant to                      commencement of the above case, in which the goods have been sold to
    11 U.S.C. § 503(b)(9)?                    the Debtor in the ordinary course of such Debtor’s business. Attach
                                              documentation supporting such claim.

 Part 3:     Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email         ____________________________________



 Official Form 410                                                           Proof of Claim                                                                                 page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                      must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the            number, individual’s tax identification number, or
   date the case was filed.                                           financial account number, and only the year of any
                                                                      person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                   full name and address of the child’s parent or
   then state the identity of the last party who owned the            guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred           Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                      Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                   To receive confirmation that the claim has been filed, either
   definition of redaction on the next page.)
                                                                   enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show          form or go to https://cases.stretto.com/benefytt
   perfection of any security interest or any assignments or
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
                                                                   Understand the terms used in this form
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Administrative expense: Generally, an expense that arises
                                                                   after a bankruptcy case is filed in connection with operating,
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                   liquidating, or distributing the bankruptcy estate.
                                                                   11 U.S.C. § 503.

 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care             Claim: A creditor’s right to receive payment for a debt that
   information. Leave out or redact confidential                    the debtor owed on the date the debtor filed for bankruptcy.
   information both in the claim and in the attached                11 U.S.C. §101 (5). A claim may be secured or unsecured.
   documents.
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Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising from      Secured claim under 11 U.S.C. §506(a): A claim backed by
the value of any goods received by the Debtor within 20 days      a lien on particular property of the debtor. A claim is secured
before the date of commencement of the above case, in which       to the extent that a creditor has the right to be paid from the
the goods have been sold to the Debtor in the ordinary course     property before other creditors are paid. The amount of a
of the Debtor's business. Attach documentation supporting         secured claim usually cannot be more than the value of the
such claim.                                                       particular property on which the creditor has a lien. Any
                                                                  amount owed to a creditor that is more than the value of the
                                                                  property normally may be an unsecured claim. But exceptions
Creditor: A person, corporation, or other entity to whom a
                                                                  exist; for example, see 11 U.S.C. § 1322(b) and the final
debtor owes a debt that was incurred on or before the date the
                                                                  sentence of 1325(a).
debtor filed for bankruptcy. 11 U.S.C. §101 (10).
                                                                  Examples of liens on property include a mortgage on real
Debtor: A person, corporation, or other entity who is in          estate or a security interest in a car. A lien may be voluntarily
bankruptcy. Use the debtor’s name and case number as shown        granted by a debtor or may be obtained through a court
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).      proceeding. In some states, a court judgment may be a lien.


Evidence of perfection: Evidence of perfection of a security      Setoff: Occurs when a creditor pays itself with money
interest may include documents showing that a security            belonging to the debtor that it is holding, or by canceling a
interest has been filed or recorded, such as a mortgage, lien,    debt it owes to the debtor.
certificate of title, or financing statement.
                                                                  Uniform claim identifier: An optional 24-character identifier
Information that is entitled to privacy: A Proof of Claim         that some creditors use to facilitate electronic payment.
form and any attached documents must show only the last 4
digits of any social security number, an individual’s tax         Unsecured claim: A claim that does not meet the
identification number, or a financial account number, only the    requirements of a secured claim. A claim may be unsecured in
initials of a minor’s name, and only the year of any person’s     part to the extent that the amount of the claim is more than the
date of birth. If a claim is based on delivering health care      value of the property on which a creditor has a lien.
goods or services, limit the disclosure of the goods or
services to avoid embarrassment or disclosure of confidential
health care information. You may later be required to give        Offers to purchase a claim
more information if the trustee or someone else in interest
objects to the claim.                                             Certain entities purchase claims for an amount that is less than
                                                                  the face value of the claims. These entities may contact
                                                                  creditors offering to purchase their claims. Some written
Priority claim: A claim within a category of unsecured claims
                                                                  communications from these entities may easily be confused
that is entitled to priority under 11 U.S.C. §507(a). These
                                                                  with official court documentation or communications from the
claims are paid from the available money or
                                                                  debtor. These entities do not represent the bankruptcy court,
property in a bankruptcy case before other unsecured
                                                                  the bankruptcy trustee, or the debtor. A creditor has no
claims are paid. Common priority unsecured claims
                                                                  obligation to sell its claim. However, if a creditor decides to
include alimony, child support, taxes, and certain unpaid
                                                                  sell its claim, any transfer of that claim is subject to
wages.
                                                                  Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
                                                                  Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
Proof of claim: A form that shows the amount of debt the          the bankruptcy court that apply.
debtor owed to a creditor on the date of the bankruptcy filing.
The form must be filed in the district where the case is
pending.


Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of
Claim form and any attached documents.


Do not file these instructions with your form.
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                             Exhibit 2

                      Proposed Bar Date Notice
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    BENEFYTT TECHNOLOGIES, INC., et al.,1                            )   Case No. 23-90566 (CML)
                                                                     )
                                      Debtors.                       )   (Joint Administration Requested)
                                                                     )   Re: Docket No. _____

                    NOTICE OF SHORTENED DEADLINES FOR THE FILING OF
                   PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
                  PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

    TO:      ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY OF THE
             FOLLOWING DEBTOR ENTITIES:

                                         DEBTOR                                                        CASE NO.
    Benefytt Technologies, Inc.                                                                         23-90566
    American Service Insurance Agency LLC                                                               23-90565
    Benefytt Reinsurance Solutions, LLC                                                                 23-90568
    BimSym-HPIH, LLC                                                                                    23-90570
    Dawn Acquisition Company, LLC                                                                       23-90573
    Daylight Beta Intermediate Corp.                                                                    23-90576
    Daylight Beta Intermediate II Corp.                                                                 23-90567
    Daylight Beta Parent Corp.                                                                          23-90571
    Health Insurance Innovations Holdings, Inc.                                                         23-90574
    Health Plan Intermediaries Holdings, LLC                                                            23-90577
    Healthinsurance.com, LLC                                                                            23-90579
    HealthPocket, Inc.                                                                                  23-90582
    Insurance Center for Excellence, LLC                                                                23-90569
    RxHelpline, LLC                                                                                     23-90572
    Sunrise Health Plans, LLC                                                                           23-90575
    TogetherHealth Insurance, LLC                                                                       23-90578
    TogetherHealth PAP, LLC                                                                             23-90580
    Total Insurance Brokers, LLC                                                                        23-90581


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
      are: Benefytt Technologies, Inc. (2634); American Service Insurance Agency LLC (9115); Benefytt Reinsurance
      Solutions, LLC (4601); BimSym-HPIH, LLC (4626); Dawn Acquisition Company, LLC (0909); Daylight Beta
      Intermediate Corp. (7248); Daylight Beta Intermediate II Corp. (8842); Daylight Beta Parent Corp. (6788); Health
      Insurance Innovations Holdings, Inc. (1994); Health Plan Intermediaries Holdings, LLC (0972); Healthinsurance.com,
      LLC (9525); HealthPocket, Inc. (3710); Insurance Center for Excellence, LLC (4618); RxHelpline, LLC (9940); Sunrise
      Health Plans, LLC (3872); TogetherHealth Insurance, LLC (9503); TogetherHealth PAP, LLC (8439); and Total Insurance
      Brokers, LLC (7975). The location of the Debtors’ service address is: 3450 Buschwood Park Drive, Suite 200, Tampa,
      Florida 33618.
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PLEASE TAKE NOTICE THAT:

        On May 23, 2023 (the “Petition Date”), Benefytt Technologies, Inc. and certain of its affiliates, as
debtors and debtors in possession (collectively, the “Debtors”), each filed a voluntary petition for relief
under title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court
for the Southern District of Texas (the “Court”).

        On [●], 2023 the Court entered an order [Docket No. [●]] (the “Bar Date Order”)2 establishing
certain dates by which parties holding prepetition claims against the Debtors must file proofs of claim,
including requests for payment pursuant to section 503(b)(9) of the Bankruptcy Code (“Proofs of Claim”).

        For your convenience, enclosed with this notice (this “Notice”) is a Proof of Claim form, which
identifies on its face the amount, nature, and classification of your claim(s), if any, listed in the Debtors’
schedules of assets and liabilities filed in these cases (the “Schedules”). If the Debtors believe that you
hold claims against more than one Debtor, you will receive multiple Proof of Claim forms, each of which
will reflect the nature and amount of your claim as listed in the Schedules.

        As used in this Notice, the term “entity” has the meaning given to it in section 101(15) of the
Bankruptcy Code, and includes all persons, estates, trusts, governmental units, and the Office of the United
States Trustee for the Southern District of Texas. In addition, the terms “persons” and “governmental
units” are defined in sections 101(41) and 101(27) of the Bankruptcy Code, respectively.

       As used in this Notice, the term “claim” means, as to or against the Debtors and in accordance
with section 101(5) of the Bankruptcy Code: (a) any right to payment, whether or not such right is reduced
to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) any right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is reduced to
judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

I.       THE BAR DATES.

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (the “Bar Dates”).

                  a.       The Claims Bar Date. Pursuant to the Bar Date Order, except as described below,
                           all entities (except governmental units) holding claims against the Debtors that
                           arose or are deemed to have arisen prior to the commencement of these cases on
                           the Petition Date, including requests for payment pursuant to section 503(b)(9) of
                           the Bankruptcy Code, are required to file Proofs of Claim by Monday, July 10,
                           2023, at 5:00 p.m., prevailing Central Time. Except as expressly set forth in this
                           Notice and the Bar Date Order, the Claims Bar Date applies to all types of claims
                           against the Debtors that arose prior to the Petition Date, including secured claims,
                           unsecured priority claims, and unsecured non-priority claims.

                  b.       The Governmental Bar Date. Pursuant to the Bar Date Order, all governmental
                           units holding claims against the Debtors that arose or are deemed to have arisen
                           prior to the commencement of these cases on the Petition Date are required to

2    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bar Date Order.

                                                             2
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                       file Proofs of Claim by the Governmental Bar Date (i.e., by Monday, November
                       20, 2023, at 5:00 p.m, prevailing Central Time). The Governmental Bar Date
                       applies to all governmental units holding claims against the Debtors (whether
                       secured, unsecured priority, or unsecured non-priority) that arose prior to the
                       Petition Date, including governmental units with claims against the Debtors for
                       unpaid taxes, whether such claims arise from prepetition tax years or periods or
                       prepetition transactions to which the Debtors were a party.

               c.      The Rejection Damages Bar Date. Pursuant to the Bar Date Order, all entities
                       holding claims arising from the Debtors’ rejection of executory contracts and
                       unexpired leases are required to file Proofs of Claim by the Rejection Damages Bar
                       Date, (i.e., by the date that is the later of (i) the Claims Bar Date or the
                       Governmental Bar Date, as applicable, and (ii) 5:00 p.m., prevailing Central
                       Time, on the date that is thirty (30) days following entry of the order approving
                       the rejection of the applicable executory contract or unexpired lease of
                       the Debtors).

               d.      Amended Schedules Bar Date. Pursuant to the Bar Date Order, all entities holding
                       claims affected by the amendment to the Debtors’ Schedules are required to file
                       Proofs of Claim by the Amended Schedules Bar Date (i.e., by the date that is the
                       later of (i) the Claims Bar Date or the Governmental Bar Date, as applicable, and
                       (ii) 5:00 p.m., prevailing Central Time, on the date that is thirty (30) days from
                       the date on which the Debtors mail notice of the amendment of the Schedules).

     THE BAR DATES ESTABLISHED BY THE BAR DATE ORDER AND REFERENCED
IN THIS NOTICE SUPERSEDE ANY BAR DATES ESTABLISHED, FILED, NOTICED, OR
PREVIOUSLY SERVED IN THESE CHAPTER 11 CASES.

II.    WHO MUST FILE A PROOF OF CLAIM.

        Except as otherwise set forth herein, the following entities holding claims against the Debtors that
arose (or that are deemed to have arisen) prior to the Petition Date must file Proofs of Claim on or before
the Claims Bar Date, the Governmental Bar Date, or any other applicable bar date set forth in the Bar Date
Order, as applicable:

               a.      any entity whose claim against a Debtor is not listed in the applicable Debtor’s
                       Schedules or is listed as contingent, unliquidated, or disputed if such entity desires
                       to participate in any of these chapter 11 cases or share in any distribution in any of
                       these chapter 11 cases;

               b.      any entity who believes that its claim is improperly classified in the Schedules or
                       is listed in an incorrect amount and who desires to have its claim allowed in a
                       different classification or amount other than that identified in the Schedules;

               c.      any former or present full-time, part-time, salaried, or hourly employees whose
                       claim relates to any grievance, including claims for wrongful termination,
                       discrimination, harassment, hostile work environment, retaliation, and/or unpaid
                       severance, to the extent grounds for such grievances arose on or prior to the Petition
                       Date; provided that current employees of the Debtors are not required to file a Proof
                                                     3
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                       of Claim for wages, commissions, benefits, or severance if an order of this Court
                       authorized the Debtors to honor such claim in the ordinary course of business;

               d.      any entity that believes that its prepetition claim as listed in the Schedules is not an
                       obligation of the specific Debtor against which the claim is listed and that desires
                       to have its claim allowed against a Debtor other than that identified in the
                       Schedules; and

               e.      any entity who believes that its claim against a Debtor is or may be an
                       administrative expense pursuant to section 503(b)(9) of the Bankruptcy Code.

III.   PARTIES WHO DO NOT NEED TO FILE PROOFS OF CLAIM.

        Certain parties are not required to file Proofs of Claim. The Court may, however, enter one or
more separate orders at a later time requiring creditors to file Proofs of Claim for some kinds of the
following claims and setting related deadlines. If the Court does enter such an order, you will receive
notice of it. The following entities holding claims that would otherwise be subject to the Bar Dates, in the
capacities described below, need not file Proofs of Claims:

               a.      the U.S. Trustee, on account of claims for fees payable pursuant to 28 U.S.C.
                       § 1930;

               b.      any entity that already has filed a signed Proof of Claim against the applicable
                       Debtor with the Claims and Noticing Agent in a form substantially similar to
                       Official Form 410 with respect to the claim asserted therein;

               c.      any entity whose claim is listed on the Schedules if: (i) the claim is not scheduled
                       by the Debtors as any of “disputed,” “contingent,” or “unliquidated;” (ii) such entity
                       agrees with the amount, nature, and priority of the claim as set forth in the
                       Schedules; and (iii) such entity does not dispute that its claim is an obligation only
                       of the specific Debtor against which the claim is listed in the Schedules;

               d.      any entity whose claim has previously been allowed by a final order of the Court;

               e.      any Debtor having a claim against another Debtor, or any claim by a non-Debtor
                       affiliate or subsidiary (whether direct or indirect and whether wholly˗owned or not)
                       against any of the Debtors;

               f.      any entity whose claim is solely against any non-Debtor affiliates;

               g.      any entity whose claim has been paid by a Debtor pursuant to a Court order;

               h.      a current employee of the Debtors, if an order of this Court authorized the Debtors
                       to honor such claim in the ordinary course of business as a wage, commission, or
                       benefit; provided that a current employee must submit a Proof of Claim by the
                       Claims Bar Date for all other claims arising before the Petition Date, including
                       claims for wrongful termination, discrimination, harassment, hostile work
                       environment, and/or retaliation;


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             i.     any current or former officer, manager, director, or employee for claims based on
                    indemnification, contribution, or reimbursement;

             j.     any entity holding a claim for which a separate deadline is fixed by this Court;

             k.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of the
                    Bankruptcy Code as an expense of administration incurred in the ordinary course;
                    provided that any entity asserting a claim entitled to priority under section 503(b)(9)
                    of the Bankruptcy Code must assert such claims by filing a request for payment or
                    a Proof of Claim on or prior to the Claims Bar Date;

             l.     any person or entity that is exempt from filing a Proof of Claim pursuant to an order
                    of the Court in these Chapter 11 Cases, including, without limitation, pursuant to
                    an order authorizing the Debtors’ proposed postpetition financing (whether on an
                    interim or final basis) (any such order, the “DIP Order”);

             m.     any holder of a claim for any fees, expenses, or other obligations arising or payable
                    under the DIP Order; and

             n.     any entity holding an equity interest in any Debtor.

IV.   INSTRUCTIONS FOR FILING PROOFS OF CLAIM.

      The following requirements shall apply with respect to filing and preparing each Proof of Claim:

             a.     Contents. Each Proof of Claim must: (i) be written in legible English; (ii) include
                    a claim amount denominated in United States dollars; (iii) conform substantially
                    with the Proof of Claim Form provided by the Debtors or Official Form 410; and
                    (iv) be signed by the claimant or by an authorized agent or legal representative of
                    the claimant on behalf of the claimant, whether such signature is an electronic
                    signature or is ink.

             b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to priority
                    under section 503(b)(9) of the Bankruptcy Code must also: (i) include the value of
                    the goods delivered to and received by the Debtors in the twenty (20) days prior to
                    the Petition Date; (ii) attach any documentation identifying the particular invoices
                    for which such claim is being asserted; and (iii) attach documentation of any
                    reclamation demand made to the Debtors under section 546(c) of the Bankruptcy
                    Code (if applicable).

             c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                    electronically or in ink by the claimant or an authorized agent or legal representative
                    of the claimant may be deemed acceptable for purposes of claims administration.
                    Copies of Proofs of Claim, or Proofs of Claim sent by facsimile or electronic mail,
                    will not be accepted.

             d.     Identification of the Debtor Entity. Each Proof of Claim must clearly identify the
                    specific Debtor against which a claim is asserted, including the individual Debtor’s
                    case number. A Proof of Claim filed under the joint administration case number

                                                   5
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         (No. 23-90566) (CML)), or otherwise without identifying a specific Debtor, will be
         deemed as filed only against Benefytt Technologies, Inc.

   e.    Claim Against Multiple Debtor Entities. Each Proof of Claim must state a claim
         against only one Debtor and clearly indicate the Debtor against which the claim is
         asserted. To the extent more than one Debtor is listed on the Proof of Claim, such
         claim may be treated as if filed only against Benefytt Technologies, Inc.

   f.    Supporting Documentation in Order to Have Prima Facie Validity. In order to
         have prima facie validity, each claim of a type specified in Bankruptcy Rules
         3001(c) and 3001(d) must include supporting documentation. If, however, such
         documentation is voluminous, such Proof of Claim may include a summary of such
         documentation or an explanation as to why such documentation is not available;
         provided that (i) the Proof of Claim contain current contact information for the
         creditor or its designated representative from whom the Debtors may request the
         full supporting documentation and (ii) such party must produce the supporting
         documentation to the Debtors’ counsel upon request no later than ten (10) days
         from the date of such request.

   g.    Timely Service. Each Proof of Claim must be filed or submitted, including
         supporting documentation, through any of the following methods: (i) electronic
         submission through PACER (Public Access to Court Electronic Records at
         https://ecf.txsb.uscourts.gov/), (ii) electronic submission using the interface
         available     on     the    Claims    and     Noticing     Agent’s    website     at
         https://cases.stretto.com/benefytt, or (iii) if submitted through non-electronic
         means, by U.S. mail or other hand delivery system, so as to be actually received by
         the Claims and Noticing Agent on or before the Claims Bar Date, the Governmental
         Bar Date, or other applicable Bar Date, as applicable, at the following address:

                    If by First-Class Mail Hand Delivery or Overnight Mail:
                                 Benefytt Claims Processing Center
                                             c/o Stretto
                                     410 Exchange, Suite 100
                                         Irvine, CA 92602

          PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC
                       MAIL WILL NOT BE ACCEPTED.

   h.    Receipt of Service. Claimants submitting a Proof of Claim through non-electronic
         means wishing to receive acknowledgment that their Proofs of Claim were received
         by the Claims and Noticing Agent must submit (i) a copy of the Proof of Claim
         Form (in addition to the original Proof of Claim Form sent to the Claims and
         Noticing Agent) and (ii) a self-addressed, stamped envelope.




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V.     CONSEQUENCES OF FAILING TO TIMELY FILE YOUR PROOF OF CLAIM.

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you or any
party or entity who is required, but fails, to file a Proof of Claim in accordance with the Bar Date Order
on or before the applicable Bar Date, please be advised that:

               a.      YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
                       ASSERTING SUCH CLAIM AGAINST THE DEBTORS (OR FILING A PROOF
                       OF CLAIM WITH RESPECT THERETO);

               b.      THE DEBTORS AND THEIR PROPERTY SHALL BE FOREVER
                       DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR LIABILITY
                       WITH RESPECT TO OR ARISING FROM SUCH CLAIM;

               c.      YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE CHAPTER 11
                       CASES ON ACCOUNT OF THAT CLAIM; AND

               d.      YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OR PLANS OF
                       REORGANIZATION FOR THE DEBTORS ON ACCOUNT OF THESE
                       BARRED CLAIMS OR RECEIVE FURTHER NOTICES REGARDING
                       SUCH CLAIM.

VI.    RESERVATION OF RIGHTS.

        Nothing contained in this Notice is intended to or should be construed as a waiver of the Debtors’
right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim listed or reflected
in the Schedules as to the nature, amount, liability, or classification thereof; (b) subsequently designate
any scheduled claim as disputed, contingent, or unliquidated; and (c) otherwise amend or supplement the
Schedules.

VII.   THE DEBTORS’ SCHEDULES AND ACCESS THERETO.

        You may be listed as the holder of a claim against one or more of the Debtor entities in the Debtors’
Schedules. To determine if and how you are listed on the Schedules, please refer to the descriptions set
forth on the enclosed Proof of Claim forms regarding the nature, amount, and status of your claim(s), if
any. If the Debtors believe that you may hold claims against more than one Debtor entity, you will receive
multiple Proof of Claim forms, each of which will reflect the nature and amount of your claim against one
Debtor entity, as listed in the Schedules.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that the claim is
accurately listed in the Schedules. However, you may rely on the enclosed form, which: (a) sets forth the
amount of your claim (if any) as scheduled; (b) identifies the Debtor entity against which it is scheduled;
(c) specifies whether your claim is listed in the Schedules as disputed, contingent, or unliquidated; and
(d) identifies whether your claim is scheduled as a secured, unsecured priority, or unsecured non-priority
claim.

        As described above, if you agree with the nature, amount, and status of your claim as listed in the
Debtors’ Schedules, and if you do not dispute that your claim is only against the Debtor entity specified
by the Debtors, and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you need

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not file a Proof of Claim. Otherwise, or if you decide to file a Proof of Claim, you must do so before the
applicable Bar Date in accordance with the procedures set forth in this Notice.

VIII. ADDITIONAL INFORMATION.

        Copies of the Debtors’ Schedules, the Bar Date Order, and other information regarding these
chapter 11 cases are available for inspection free of charge on the Debtors’ website at
https://cases.stretto.com. The Schedules and other filings in these chapter 11 cases also are available for
a fee at the Court’s website at https://ecf.txsb.uscourts.gov/. A login identification and password to the
Court’s Public Access to Court Electronic Records (“PACER”) are required to access this information
and can be obtained through the PACER Service Center at http://www.pacer.psc.uscourts.gov. Copies of
the Schedules and other documents filed in these cases also may be examined between the hours of 8:00
a.m. and 5:00 p.m., prevailing Central Time, Monday through Friday, at the office of the Clerk of the
Bankruptcy Court, United States Bankruptcy Court for the Southern District of Texas, United States
Courthouse, 515 Rusk Avenue, Houston, Texas 77002.

       If you require additional information regarding the filing of a Proof of Claim, you may contact the
Debtors’ restructuring hotline at: (833) 693-3762 (Toll Free U.S.); or (720) 450-8180 (Non-U.S. Parties).

     A HOLDER OF A POSSIBLE CLAIM AGAINST THE DEBTORS SHOULD CONSULT
 AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE, SUCH
         AS WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM.




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                              Exhibit 3

                     Proposed Publication Notice
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                       )
      In re:                                                           )   Chapter 11
                                                                       )
      BENEFYTT TECHNOLOGIES, INC., et al.,1                            )   Case No. 23-90566 (CML)
                                                                       )
                                         Debtors.                      )   (Joint Administration Requested)
                                                                       )   Re: Docket No. _____

                  NOTICE OF SHORTENED DEADLINES FOR THE FILING OF
                 PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
                PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

          THE CLAIMS BAR DATE IS MONDAY, JULY 10, 2023, AT 5:00 P.M. (PREVAILING
                                   CENTRAL TIME)

                THE GOVERNMENTAL BAR DATE IS MONDAY, NOVEMBER 20, 2023,
                         AT 5:00 P.M. (PREVAILING CENTRAL TIME)

  PLEASE TAKE NOTICE OF THE FOLLOWING:

          Deadlines for Filing Proofs of Claim. On [●], 2023, the United States Bankruptcy Court
  for the Southern District of Texas (the “Court”) entered an order [Docket No. [●]] (the “Bar Date
  Order”) establishing certain deadlines for the filing of proofs of claim, including requests for
  payment under section 503(b)(9) of the Bankruptcy Code (“Proofs of Claim”), in these chapter 11
  cases of the following debtors and debtors in possession (collectively, the “Debtors”):

                                       DEBTOR                                                         CASE NO.
Benefytt Technologies, Inc.                                                                           23-90566
American Service Insurance Agency LLC                                                                 23-90565
Benefytt Reinsurance Solutions, LLC                                                                   23-90568
BimSym-HPIH, LLC                                                                                      23-90570
Dawn Acquisition Company, LLC                                                                         23-90573
Daylight Beta Intermediate Corp.                                                                      23-90576

  1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Benefytt Technologies, Inc. (2634); American Service Insurance Agency LLC (9115); Benefytt
        Reinsurance Solutions, LLC (4601); BimSym-HPIH, LLC (4626); Dawn Acquisition Company, LLC (0909);
        Daylight Beta Intermediate Corp. (7248); Daylight Beta Intermediate II Corp. (8842); Daylight Beta Parent Corp.
        (6788); Health Insurance Innovations Holdings, Inc. (1994); Health Plan Intermediaries Holdings, LLC (0972);
        Healthinsurance.com, LLC (9525); HealthPocket, Inc. (3710); Insurance Center for Excellence, LLC (4618);
        RxHelpline, LLC (9940); Sunrise Health Plans, LLC (3872); TogetherHealth Insurance, LLC (9503);
        TogetherHealth PAP, LLC (8439); and Total Insurance Brokers, LLC (7975). The location of the Debtors’
        service address is: 3450 Buschwood Park Drive, Suite 200, Tampa, Florida 33618.
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                                DEBTOR                                                CASE NO.
Daylight Beta Intermediate II Corp.                                                   23-90567
Daylight Beta Parent Corp.                                                            23-90571
Health Insurance Innovations Holdings, Inc.                                           23-90574
Health Plan Intermediaries Holdings, LLC                                              23-90577
Healthinsurance.com, LLC                                                              23-90579
HealthPocket, Inc.                                                                    23-90582
Insurance Center for Excellence, LLC                                                  23-90569
RxHelpline, LLC                                                                       23-90572
Sunrise Health Plans, LLC                                                             23-90575
TogetherHealth Insurance, LLC                                                         23-90578
TogetherHealth PAP, LLC                                                               23-90580
Total Insurance Brokers, LLC                                                          23-90581

           The Bar Dates. Pursuant to the Bar Date Order, all entities (except governmental units),
  including individuals, partnerships, estates, and trusts that have a claim or potential claim against
  the Debtors that arose prior to May 23, 2023, no matter how remote or contingent such right to
  payment or equitable remedy may be, including requests for payment under section 503(b)(9) of
  the Bankruptcy Code, MUST FILE A PROOF OF CLAIM on or before Monday, July 10, 2023,
  at 5:00 p.m., prevailing Central Time (the “Claims Bar Date”). Governmental entities that have
  a claim or potential claim against the Debtors that arose prior to May 23, 2023, no matter how
  remote or contingent such right to payment or equitable remedy may be, MUST FILE A PROOF
  OF CLAIM on or before Monday, November 10, 2023, at 5:00 p.m., prevailing Central Time
  (the “Governmental Bar Date”). All entities holding claims arising from the Debtors’ rejection
  of executory contracts and unexpired leases are required to file Proofs of Claim by the date that is
  the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable, and (b) the
  date that is thirty (30) days following entry of the order approving the Debtors’ rejection of the
  applicable executory contract or unexpired lease (the “Rejection Damages Bar Date”). All
  entities holding claims affected by an amendment to the Debtors’ schedules of assets and liabilities
  filed in these cases (the “Schedules”) are required to file Proofs of Claim, by the later of (i) the
  Claims Bar Date or the Governmental Bar Date, as applicable, and (ii) 5:00 p.m., prevailing
  Central Time, on the date that is thirty (30) days from the date on which the Debtors mail notice
  of the amendment of the Schedules (the “Amended Schedules Bar Date”).

  THE BAR DATES ESTABLISHED BY THE BAR DATE ORDER AND REFERENCED
  IN THIS NOTICE SUPERSEDE ANY BAR DATES ESTABLISHED, FILED, NOTICED,
  OR PREVIOUSLY SERVED IN THESE CHAPTER 11 CASES.

  ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM, INCLUDING
  ANY REQUEST FOR PAYMENT UNDER SECTION 503(B)(9) OF THE BANKRUPTCY
  CODE, ON OR BEFORE THE CLAIMS BAR DATE OR THE GOVERNMENTAL BAR
  DATE, AS APPLICABLE, SHALL NOT BE TREATED AS A CREDITOR WITH
  RESPECT TO SUCH CLAIM FOR THE PURPOSES OF VOTING AND DISTRIBUTION
  ON ANY CHAPTER 11 PLAN.



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         Filing a Proof of Claim. Each Proof of Claim must be filed or submitted, including
supporting documentation, through any of the following methods: (a) electronic submission
through PACER (Public Access to Court Electronic Records at http://ecf.txsb.uscourts.gov/),
(b) electronic submission using the interface available on the Claims and Noticing Agent’s website
at https://cases.stretto.com/benefytt, or (c) if submitted through non-electronic means, by U.S. mail
or other hand delivery system, so as to be actually received by the Claims and Noticing Agent on
or before the Claims Bar Date, the Governmental Bar Date, or any other applicable Bar Date, as
applicable at the following address:

                   If by First-Class Mail Hand Delivery or Overnight Mail:
                                Benefytt Claims Processing Center
                                            c/o Stretto
                                    410 Exchange, Suite 100
                                        Irvine, CA 92602

        Contents of Proofs of Claim. Each Proof of Claim must: (a) be written in legible English;
(b) include a claim amount denominated in United States dollars; (c) clearly identify the specific
Debtor against which the claim is asserted; (d) conform substantially with the Proof of Claim form
provided by the Debtors or Official Form 410; (e) be signed by the claimant or by an authorized
agent or legal representative of the claimant on behalf of the claimant, whether such signature is
an electronic signature or is ink; and (f) include as attachments any and all supporting
documentation on which the claim is based. Please note that each Proof of Claim must state a
claim against only one Debtor and clearly indicate the specific Debtor against which the claim is
asserted. To the extent more than one Debtor is listed on the Proof of Claim, a Proof of Claim is
treated as if filed only against Benefytt Technologies, Inc., or if a Proof of Claim is otherwise filed
without identifying a specific Debtor, the Proof of Claim may be deemed as filed only against
Benefytt Technologies, Inc.

       Electronic Signatures Permitted. Proofs of Claim signed electronically or in ink by the
claimant or an authorized agent or legal representative of the claimant may be deemed acceptable
for purposes of claims administration. Copies of Proofs of Claim, or Proofs of Claim sent by
facsimile or electronic mail, will not be accepted.

        Section 503(b)(9) Requests for Payment. Any Proof of Claim that asserts a right to
payment arising under section 503(b)(9) of the Bankruptcy Code must also: (a) include the value
of the goods delivered to and received by the Debtors in the twenty (20) days prior to the Petition
Date; (b) attach any documentation identifying the particular invoices for which such claim is
being asserted; and (c) attach documentation of any reclamation demand made to the Debtors under
section 546(c) of the Bankruptcy Code (if applicable).

        Additional Information. If you have any questions regarding the claims process and/or
you wish to obtain a copy of the Bar Date Notice, a proof of claim form or related documents you
may do so by: (a) calling the Debtors’ restructuring hotline at (833) 693-3762 (Toll Free U.S.); or
(720) 450-8180 (Non-U.S. Parties); and/or (b) visiting the Debtors’ restructuring website at:
https://cases.stretto.com/benefytt.




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